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                            Kalamazoo Public Schools
                           Special Education Monitoring
                      Closeout of Findings of Noncompliance


District:                            Kalamazoo Public Schools (39010)
ISD:                                 Kalamazoo RESA (39)
Date of Report:                      10/26/2020
Responsible Party at ISD:            Victoria Wentela


Priority:
General Supervision Monitoring (GSM)

Pursuant to the Individuals with Disabilities Education Act
(a)(1)(2), as part of state monitoring and enforcement, the Office of Special Education
(OSE) must ensure the requirements of the IDEA are carried out and that each educational
program for children with disabilities meets the State's educational standards. It must
review policies, procedures, and practices related to the provision of a free appropriate
education (FAPE) for students with individualized educational programs (IEPs).

Selection Criteria:
As part of investigating State complaints, a complaint with substantiated noncompliance is
required to be corrected on both the student and the systemic levels. The OSE issued this
finding of noncompliance as a response to fulfilling its GSM obligation regarding correcting
the systemic noncompliance substantiated during the investigation of a State complaint.

Policies, Procedures, and Practices:
Based on evidence from the complaint investigation, it was determined that the policies,
procedures, and practices that were used for the provision of a FAPE for students with an
IEP were not compliant with the Individuals with Disabilities Education Act (IDEA) and/or the
Michigan Administrative Rules for Special Education (MARSE).

Verification of Correction:
Following the district's request for closeout and verification of correction of findings, the
Office of Special Education (OSE) conducted a verification activity. The verification and
closeout of findings require a review by the OSE of evidence that the district completed all
activities in the approved corrective action plan and is correctly implementing the specific
regulatory requirements. Evidence of correction includes a review of current policies,
procedures, and practices, student record reviews, and staff interviews.




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Findings of Noncompliance and Evidence of Subsequent Correction:

(1)   Findings of Noncompliance
      Case Number: 19-0188
      The district is not in compliance with the IDEA and/or the MARSE regarding child find including:



      Required Evidence of Correction
      The district must revise or develop procedures regarding child find, as needed, by 06/15/2020
      to document and ensure that:
            The District fulfills its ongoing Child Find obligation to identify, locate and evaluate
            students who are suspected of having a disability and in need of special education
            services.
      The district must provide professional development by 06/15/2020 for all relevant staff
      regarding the new procedures.

      Evidence of change in the district s practices must be provided and verified by the OSE.

      Documentation of Correction of Noncompliance
      Child Find Procedures--in accepted progress report; I asked the district to update a section on
      page 3 of the policy. Updated copy uploaded into TA notes.

      District Special Education Handbook--Small section in the district's special education handbook
      dedicated to Child Find--took a snapshot and uploaded to TA notes

      Child Study Procedures--uploaded in TA notes

      Agenda January 10, 2020--School Psychologists, Teacher Consultants, and Social Workers;

      Interviews--(4) Rikki Saunders, Director; Janine VanStee, Special Education Coordinator; Kevin
      Seale, School Psychologist; Tamica Frison, School Administrator

(2)   Findings of Noncompliance
      Case Number: 19-0188
      The district is not in compliance with the IDEA and/or the MARSE regarding discipline including:
            Affording the Student the procedural safeguards contained in the IDEA's discipline
            provisions for students not determined eligible for special education.

      Required Evidence of Correction
      The district must revise or develop procedures regarding discipline, as needed, by 06/15/2020
      to document and ensure that:
            The District affords students the procedural safeguards contained in the IDEA's discipline
            provisions for students not determined eligible for special education.
      The district must provide professional development by 06/15/2020 for all relevant staff
      regarding the new procedures.

      Evidence of change in the district s practices must be provided and verified by the OSE.

      Documentation of Correction of Noncompliance


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      Discipline Procedures--in TA notes
      PPT/ agenda
      Interviews--4; same as above



Final Disposition:
The Kalamazoo Public Schools has corrected all areas of noncompliance. Evidence of
correction in the targeted areas was verified by the OSE. The district s corrective action plan
is closed out.




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